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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                           STATESBORO DIVISION



ELIJAH NAHUM SIMMONS,

          Movant,
v.                                              Case No. CV613-112
                                                         CR610-001
UNITED STATES OF AMERICA,

          Respondent.


                        REPORT AND RECOMMENDATION

          This 28 U.S.C. § 2255 case was previously terminated because

movant Elijah Nahum Simmons had waived his appellate and collateral

review rights. (Cr. doc. 154 at 8 (plea agreement)) ; doc. 10 (order closing
                                                        '




the case).) Simmons sought relief from that judgment based upon the

Department of Justice’s new policy (effective October 2014) directing

Assistant United States Attorneys to abstain from seeking such waivers



     1
     Unless otherwise noted, citations are to the docket in Simmons’s civil § 2255
case, number CV613-112. “Cr. doc.” refers to documents filed under his criminal
case, CR610-001. Additionally, page references are to the CM/ECF screen page
rather than the referenced document’s own internal pagination.
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and to decline to enforce them in certain circumstances. 2 (Doc. 12

(motion for relief from judgment); doc. 5 (government’s motion

explaining new policy as to appellate and collateral waivers).) The Court

granted Simmons’ motion for relief from judgment and re-assigned the

case to the undersigned for further proceedings. (Doc. 13.) It provided

Simmons with an attorney and ordered the government to submit a

supplemental response to Simmons’ § 2255 motion. (Doc. 17.) The

government complied, and it concedes that Simmons should be

resentenced. (Doc. 20.)

        Simmons was sentenced as a career offender under United States

Sentencing Guidelines (“USSG”) § 4B1.1 based upon two felony

controlled substance offenses. 3 (Presentence Investigation Report

(“PSI”) at 16.) The career offender enhancement pushed Simmons from

a criminal history category of V to VI. ( Id. ) This moved his guideline


   2
    The Court takes no position on whether or not the United States Attorney is
empowered to decline to enforce waivers that have been approved by a defendant and
accepted by the Court.
   3
     Under USSG § 4B1.2(b), a “controlled substance offense” is defined as “an
offense under federal or state law, punishable by imprisonment for a term exceeding
one year, that prohibits the manufacture, import, export, distribution, or dispensing
of a controlled substance (or a counterfeit substance) or the possession of a controlled
substance (or a counterfeit substance) with intent to manufacture, import, export,
distribute, or dispense.”

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range from 235-240 months to 240 months (the statutory maximum).

(PSI at 22.) The government has reviewed certified copies of the state

convictions and learned that one of the offenses does not qualify as a

controlled substance offense because Simmons was only actually

convicted of possession of cocaine, not “possession of cocaine with the

intent to distribute.” (Doc. 20 at 9.) Accordingly, the government

concedes that Simmons’ attorneys “erred [by failing to pursue the issue]

and that error prejudiced Simmons.” ( Id. ) Furthermore, it states that it

“would be unable at any evidentiary hearing to present evidence that

negates Simmons’s claim that he does not have the two predicate

controlled substance offense convictions needed to qualify for the career

offender enhancement.” 4 (Id. )

         The Court agrees with the government’s assertion that Simmons

received ineffective assistance of counsel under                          Strickland v.

Washington , 466 U.S. 668 (1984). 5 Accordingly, Simmons’ motion should

be GRANTED and he should be resentenced without the USSG § 4B1.1

   4
       Notably, this is Simmons’ sole ground for relief. (Doc. 1 at 3.)
   5
     Simmons has met both the deficient performance and prejudice prongs of
Strickland , for he has shown that “there is a reasonable probability that, but for
counsel’s unprofessional errors, the result of the proceeding would have been
different.” Id. at 694.

                                              3
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career enhancement. His current counsel should continue on as

Simmons’ attorney at resentencing.

      SO REPORTED AND RECOMMENDED this 7th day of

April, 2015.

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                                     UMTED STATES MAGISTRATE JIJDGE
                                     SOTJTHERN DISTRICT OF GEORGIA




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